          Case 3:25-cv-01428-VC   Document 48       Filed 05/09/25   Page 1 of 12




                              UNITED STATES DISTRICT COURT
1                           NORTHERN DISTRICT OF CALIFORNIA
2

3    EARTH’S HEALING, INC.,
                                                     Case No. 25-cv-1428
4             Plaintiff,
5
     v.
6
     SHENZHEN SMOORE TECHNOLOGY CO.
7    LTD.;    JUPITER  RESEARCH      LLC;
     GREENLANE HOLDINGS, LLC; 3WIN
8    CORP.; and CB SOLUTIONS d/b/a CANNA
     BRAND SOLUTIONS,
9

10            Defendants.

11
     REDBUD ROOTS INC.,
12                                                   Case No. 25-cv-3221
              Plaintiff,
13
     v.
14

15   SHENZHEN SMOORE TECHNOLOGY CO.
     LTD.;    JUPITER  RESEARCH      LLC;
16   GREENLANE HOLDINGS, LLC; 3WIN
     CORP.; and CB SOLUTIONS d/b/a CANNA
17   BRAND SOLUTIONS,
18
              Defendants.
19

20   SUMMIT INDUSTRIAL SOLUTIONS LLC,                Case No. 25-cv-3431

21            Plaintiff,

22   v.
23   SHENZHEN SMOORE TECHNOLOGY CO.
24   LTD.;   JUPITER  RESEARCH   LLC;
     GREENLANE HOLDINGS, LLC; 3WIN
25   CORP.; and CB SOLUTIONS LLC d/b/a
     CANNA BRAND SOLUTIONS,
26
              Defendants.
27
                                                                       CASE NOS. 25-CV-1428;
     JOINT INITIAL CASE MANAGEMENT
                                                1                                25-CV-3221;
     STATEMENT
                                                                                  25-CV-3431
           Case 3:25-cv-01428-VC       Document 48        Filed 05/09/25    Page 2 of 12




1                      JOINT INITIAL CASE MANAGEMENT STATEMENT
2            Pursuant to this Court’s April 29, 2025 order (ECF No. 37) and the Standing Order for all

3    Judges of the Northern District of California, 1 the Parties in the above-captioned actions

4    respectfully submit their initial Joint Case Management Statement.

5    I.      JURISDICTION AND SERVICE

6            Subject Matter Jurisdiction. Plaintiffs, direct purchasers (“DPPs”) of closed cannabis oil

7    vaporizer systems and components (“Vapes”) manufactured by Defendant Shenzhen Smoore

8    Technology Co. Ltd. (“Smoore”) and sold by Smoore or its authorized distributors—Jupiter

9    Research LLC (“Jupiter”), Greenlane Holdings, LLC (“Greenlane”), 3Win Corp. (“3Win”), and/or

10   CB Solutions d/b/a Canna Brand Solutions (“CB Solutions,” and with Jupiter, Greenlane, and

11   3Win, the “Authorized Distributors,” and with Smoore, the “Defendants”), have asserted antitrust

12   claims under the Sherman Act, 15 U.S.C. § 1, et seq., which vests this Court with subject matter

13   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a) and 1367.

14           Personal Jurisdiction & Venue. DPPs assert that there are no issues regarding personal

15   jurisdiction or venue. Defendants do not concede that they are subject to personal jurisdiction or

16   that venue is proper.

17           Status of Service. Defendants have agreed to waive service in each of the above-captioned

18   actions.

19   II.     STATEMENT OF CLAIMS

20           DPPs allege that between November 16, 2016 and the present, Defendant Smoore, the

21   manufacturer of CCELL-branded Vapes, has had written and signed agreements with its

22   Authorized Distributors, to (a) not charge their customers below minimum prices agreed to by all

23   of the Defendants and (b) not compete for other Defendants’ (including Smoore’s) customers (the

24   “Distribution Agreements”). DPPs further allege that because Smoore and the Authorized

25   Distributors both sell CCELL-branded Vapes customers at the wholesale level (i.e., to DPPs and/or

26   1
            https://www.cand.uscourts.gov/wp-content/uploads/judges/Standing_Order_All_Judges-11-30-
27   2023.pdf.
                                                                               CASE NOS. 25-CV-1428;
         JOINT INITIAL CASE MANAGEMENT
                                                      2                                  25-CV-3221;
         STATEMENT
                                                                                          25-CV-3431
        Case 3:25-cv-01428-VC           Document 48        Filed 05/09/25     Page 3 of 12




1    members of the DPP Class), they are horizontal competitors such that their agreement is per se

2    unlawful under the Sherman Act.

3           Defendants intend to move to dismiss DPPs’ claims and dispute DPPs’ allegations and

4    characterizations. As Defendants will explain in their forthcoming motion(s) to dismiss, the DPPs’

5    complaints fail to state a claim under which relief can be granted, including because DPPs fail to

6    sufficiently allege a conspiracy or harm to competition.

7           DPPs are seeking to represent a putative class of other direct purchasers of CCELL-branded

8    Vapes pursuant to Federal Rule of Civil Procedure 23(b)(3) and believe that all of the requirements

9    of that Rule are readily satisfied here. Defendants intend to oppose class certification on the basis

10   that, among other things, common issues do not predominate.

11          Principal Factual Issues in Dispute. The Parties presently believe that the principal

12   factual issues in dispute will be as follows:

13          -   Whether Defendants entered into the alleged horizontal agreement(s);

14          -   Whether the Defendants entered into the alleged vertical agreements(s);

15          -   Whether the Authorized Distributors entered into an agreement with one another;

16          -   Whether Smoore organized, facilitated, and enforced the alleged agreement among and

17              between itself and the Authorized Distributors;

18          -   Whether Defendants’ Distribution Agreement(s) contain the alleged minimum pricing

19              terms;

20          -   Whether Defendants’ Distribution Agreement(s) contain the alleged market allocation

21              terms;

22          -   Whether Defendants’ alleged conduct harmed competition (e.g., whether Defendants’

23              alleged conduct caused the price of CCELL-branded Vapes sold in the United States to

24              be higher than it would have been but-for Defendants’ alleged anticompetitive

25              conduct);

26          -   Whether one or more Defendant(s) engaged in the other alleged anticompetitive

27              conduct, including inter alia foreclosing other would-be competitors and engaging in
                                                                                  CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                       3                                    25-CV-3221;
      STATEMENT
                                                                                             25-CV-3431
            Case 3:25-cv-01428-VC         Document 48         Filed 05/09/25      Page 4 of 12




1                 objectively baseless litigations;

2             -   The duration of Defendants’ alleged anticompetitive conduct;

3             -   Whether DPPs had any reason to know or suspect the alleged conspiracy, or any means

4                 to discover the alleged anticompetitive conduct;

5             -   Whether Defendants fraudulently concealed the existence of the alleged

6                 anticompetitive conduct from Plaintiffs;

7             -   The identity of the participants in Defendants’ alleged anticompetitive conduct; and

8             -   Whether DPPs and members of the putative DPP Class were injured by the Defendants’

9                 alleged conduct and, if so, the determination of the appropriate Class-wide measure of

10                damages.

11   III.     LEGAL ISSUES

12            The Parties presently believe that the principal legal issues in dispute will be as follows:

13            -   Whether DPPs have stated a claim upon which relief can be granted;

14            -   Whether the putative DPP Class should be certified pursuant to Rule 23 of the Federal

15                Rules of Civil Procedure; and

16            -   Whether DPPs, on behalf of themselves and the putative DPP Class, are entitled to

17                damages and injunctive relief, and, if so, the nature and extent of such relief.

18             The Parties agree that the above list is not exhaustive of all the legal issues that are likely

19   to be in dispute.

20   IV.      MOTIONS

21            There are currently no motions pending. However, the Parties will be submitting a proposed

22   Joint CMO No. 1 to the Court prior to the May 16, 2025 Case Management Conference that would,

23   inter alia, set a date for the submission of an agreed upon schedule for the Parties’ filing of a

24   proposed litigation schedule, DPPs’ filing of a consolidated DPP complaint, and motion to dismiss

25   briefing.

26   V.       AMENDMENT OF PLEADINGS

27            DPPs anticipate filing a consolidated class action complaint, on a date to be agreed to by
                                                                                     CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                          4                                    25-CV-3221;
      STATEMENT
                                                                                                25-CV-3431
           Case 3:25-cv-01428-VC         Document 48        Filed 05/09/25     Page 5 of 12




1    the Parties and submitted in connection with the proposed Joint CMO No. 1, discussed supra. DPPs

2    presently anticipate that the consolidated class action complaint may add additional or alternative

3    claims.

4    VI.       EVIDENCE PRESERVATION

5              The Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

6    Information (“ESI Guidelines”). Defendants maintain that a Rule 26(f) conference is premature,

7    including because certain Defendants have not yet been served in certain matters, Smoore is an

8    international Defendant whose current counsel recently appeared in these matters, and because an

9    Administrative Motion to convert the May 16 Case Management Conference to a Status

10   Conference (ECF NO. 40) remains pending. Given this, if the Court does not convert the upcoming

11   Case Management Conference to a Status Conference, the Parties agree to begin the Rule 26(f)

12   process by no later than May 15, 2025, with the understanding that (a) the parties will conclude the

13   process at a later date, but in any event no later than June 9, 2025; and (b) any deadlines or

14   obligations triggered by the Rule 26(f) conference will not be triggered until the parties conclude

15   the process at a later date. Notwithstanding, the Parties agree that they will continue to meet and

16   confer in good faith regarding the items discussed herein between May 15, 2025 and June 9, 2025.

17   If the Court converts the upcoming Case Management Conference to a Status Conference, the

18   Parties will hold a Rule 26(f) conference, if necessary, at later date.

19   VII.      DISCLOSURES

20             Exchange of Initial Disclosures. The Parties agreed to exchange initial disclosures

21   pursuant to Federal Rule of Civil Procedure 26(a)(1) on June 9, 2025.

22             Description of Disclosures Made. The Parties will disclose (a) the names and contact

23   information of individuals who they presently believe are likely to have discoverable information

24   (see Fed. R. Civ. P. 26(a)(1)(A)(i)); (b) a description of the documents, ESI, and tangible things

25   that each Pary has in its possession, custody, or control that it may use to support its claims or

26   defenses (see Fed. R. Civ. P. 26(a)(1)(A)(ii)); (c) a description of the damages claimed (see Fed.

27   R. Civ. P. 26(a)(1)(A)(iii)); and (d) the existence of any insurance agreement(s) under which an
                                                                                  CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                        5                                   25-CV-3221;
      STATEMENT
                                                                                             25-CV-3431
         Case 3:25-cv-01428-VC           Document 48         Filed 05/09/25      Page 6 of 12




1    insurance business may be liable to satisfy all or part of a possible judgment in the action or to

2    indemnify or reimburse for payments made to satisfy the judgment (see Fed. R. Civ. P.

3    26(a)(1)(A)(iv)). The Parties agree that damages computation(s) will be disclosed during the class

4    certification and/or summary judgment stage of these proceedings (see Fed. R. Civ. P. (a)(1)(A)).

5    VIII. DISCOVERY

6            Discovery Taken to Date. As of May 9, 2025, no discovery had been served by any Party.

7            The Scope of Anticipated Discovery. DPPs presently believe that the scope of discovery

8    in this case will be similar in nature and scope to other multi-Defendant antitrust cases. DPPs also

9    believe that limited document discovery in this case (see Part XIX, infra), either before or during

10   motion to dismiss briefing, is likely to streamline the factual and legal matters in dispute at little to

11   no cost to Defendants.

12           Defendants will seek to stay discovery pending their forthcoming motions to dismiss, and

13   they anticipate such motions will dispose of DPPs’ claims or narrow the factual and legal issues to

14   be decided. Given their forthcoming motions to dismiss, and the early stage of the case, Defendants

15   cannot yet determine the scope of discovery.

16           Limitations or Modifications of Discovery Rules. The Parties agree that the appropriate

17   time to address potential limitations or modifications to the discovery rules is after Defendants

18   have had further opportunity to investigate and identify the individuals likely to have responsive

19   and relevant information to these actions.

20           Discovery Orders. The Parties have agreed to meet and confer, and if possible agree, to

21   orders to streamline the discovery process in this case, if any, including inter alia, a stipulated ESI

22   Order, Protective Order, and 502(d) Order at the appropriate time. As noted above, Defendants

23   maintain that discovery should be stayed pending resolution of their forthcoming motion(s) to

24   dismiss, which Defendants believe would dispose of a need for such protocols and stipulations.

25           Discovery Plan. The Parties have agreed to meet and confer, and if possible agree, to a

26   stipulated discovery plan pursuant to Federal Rule of Civil Procedure 26(f).

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                                                                                     CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                         6                                     25-CV-3221;
      STATEMENT
                                                                                                25-CV-3431
           Case 3:25-cv-01428-VC          Document 48        Filed 05/09/25      Page 7 of 12




1              Discovery Disputes. The Parties presently disagree on the timing and appropriateness of

2    Defendants’ production of documents and testimony produced or taken in two other matters, but

3    will present that issue to the Court at the appropriate time, if necessary. See Part XIX, infra.

4    IX.       CLASS ACTIONS

5              Timing. The Parties are in the process of discussing a proposed litigation schedule, which

6    would include class certification timing, and intend to propose a date by which they would submit

7    a litigation schedule to the Court in their Joint CMO No. 1, which will be submitted prior to the

8    May 16, 2025 Case Management Conference. The Parties further agree that DPPs’ motion for class

9    certification and Defendants’ response will be supported by (an) expert report(s) and testimony.

10             Review of Guidelines. The Parties have reviewed the Procedural Guidelines for Class

11   Action Settlements. 2

12   X.        RELATED CASES

13             The Parties are not presently aware of any other currently-filed DPP action against

14   Defendants that are based on the same or similar set of allegations that have not been related to the

15   Earth’s Healing matter.

16             However, a putative class of indirect purchasers of CCELL-branded Vapes filed an earlier

17   action against the Authorized Distributors (later adding Smoore and amending certain factual

18   allegations after the Earth’s Healing matter was filed), which has not been related to the Earth’s

19   Healing matter. See S.K., et al. v. Jupiter Research, LLC, et al., Case No. 24-cv-9090 (N.D. Cal.).

20   The parties to the indirect purchaser proceeding, including the Defendants in the instant related

21   cases, have consented to magistrate judge jurisdiction, whereas DPPs here have not.

22   XI.       RELIEF

23             Relief Sought. DPPs seek injunctive relief; treble damages for the difference in price they

24   paid Defendants and the price they would have paid Defendants but-for the alleged anticompetitive

25   conduct; pre-judgment and post-judgment interest; notice costs; reasonable attorneys’ fees and

26   expenses; and such other or further relief as may be just and proper. Defendants dispute that DPPs

27   2
              https://cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/
                                                                                       CASE NOS. 25-CV-1428;
         JOINT INITIAL CASE MANAGEMENT
                                                          7                                      25-CV-3221;
         STATEMENT
                                                                                                  25-CV-3431
         Case 3:25-cv-01428-VC          Document 48         Filed 05/09/25      Page 8 of 12




1    are entitled to any relief.

2            Basis of Damage Calculation. DPPs believe that the computation of their and the putative

3    DPP Class’s damages will be the subject of expert report(s) and testimony, such that the amount is

4    not presently known. Defendants reserve the right to seek discovery, prior to the service of expert

5    reports, regarding Plaintiffs’ damages allegations in the event DPPs’ claims survive the motions to

6    dismiss. The Parties agree that DPPs’ alleged damages will be subject to discovery but dispute

7    whether and when that discovery should begin.

8    XII.    SETTLEMENT AND ADR

9            Prospects for Settlement. The Parties will address the prospects for settlement at the case

10   management conference.

11           ADR Certification and Plan. The Parties filed the required ADR Certification (see Civil

12   L.R. 16-18(b) and ADR L.R. 3-5(b)) in Earth’s Healing on May 9, 2025.

13   XIII. OTHER REFERENCES

14           DPPs believe that the case is not presently suitable for binding arbitration, a special master,

15   or the Judicial Panel on Multidistrict Litigation. Defendants continue to reserve all rights.

16   XIV. NARROWING OF ISSUES

17           The Parties jointly identify the below issues which are the most consequential to the case

18   and discuss how resolution of these issues could potentially be expedited:

19           -   Limited Early Discovery: The Parties disagree as to whether and when Defendants

20               should have to produce documents and testimony produced or given in two other cases.

21               See Part XIX, supra.

22           -   Motion to Dismiss: The Parties disagree as to whether DPPs have stated a colorable

23               claim but agree that resolution of Defendants’ anticipated motion(s) to dismiss will

24               inform and clarify the issues that are most consequential and how those issues could

25               potentially be expedited.

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                                                                                   CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                        8                                    25-CV-3221;
      STATEMENT
                                                                                              25-CV-3431
        Case 3:25-cv-01428-VC           Document 48         Filed 05/09/25     Page 9 of 12




1    XV.    SCHEDULING

2           The Parties are in the process of discussing a full litigation schedule and intend to propose

3    a date by which they would submit one to the Court in their proposed Joint CMO No. 1, which the

4    Parties will submit to the Court prior to the May 16, 2025 Case Management Conference, as

5    discussed supra.

6    XVI. TRIAL

7           DPPs have requested a jury trial. The Parties agree that the expected length of trial is not

8    yet known.

9    XVII. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS

10          Each Party, with the exception of Jupiter (for which the disclosure is forthcoming), has

11   filed the required Certification of Interested Entities or Persons required by Civil LR 3-15. See

12   ECF Nos. 17 (Earth’s Healing), 3 (Redbud), 5 (Summit); 35 (Smoore), , 41 (Greenlane), 43 (3Win),

13   & 42 (CB Solutions). The disclosures are set forth again, below:

14          Earth’s Healing: Pursuant to Civil L.R. 3-15, Earth’s Healing, Inc. certified that as of

15   February 19, 2025, there was no conflict to report. Pursuant to Federal Rule of Civil Procedure

16   7.1(a), Earth’s Healing, Inc. certified as of February 19, 2025, that it has a parent company, and

17   that the following privately held LLC own 100% of its stock: Meridian Partners II, LLC. Pursuant

18   to Civil L.R. 3-15, Earth’s Healing, Inc. certified that the following listed persons, associations of

19   persons, firms, partnerships, corporations (including, but not limited to, parent corporations) or

20   other entities (i) have a financial interest in the subject matter in controversy or in a party to the

21   proceeding, or (ii) have a nonfinancial interest in that subject matter or in a party that could be

22   substantially affected by the outcome of this proceeding: Meridian Partners II, LLC and Agrotech

23   Management, LLC.

24          Redbud: Pursuant to Civil L.R. 3-15, Redbud Roots, Inc. certified that as of April 10, 2025,

25   there was no conflict or interest to report. Pursuant to Federal Rule of Civil Procedure 7.1(a),

26   Redbud Roots, Inc. certified as of April 10, 2025, that no parent corporation or publicly held

27   corporation owns 10% or more of its stock.
                                                                                  CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                        9                                   25-CV-3221;
      STATEMENT
                                                                                             25-CV-3431
        Case 3:25-cv-01428-VC           Document 48           Filed 05/09/25    Page 10 of 12




1             Summit: Pursuant to Civil L.R. 3-15, Summit certified that as of April 23, 2025, there was

2    no conflict to report. Pursuant to Federal Rule of Civil Procedure 7.1(a), Plaintiff Summit Industrial

3    Solutions LLC, certified that it does not have a parent company, and that no publicly traded

4    company owns 10% or more of its shares.

5             Smoore: Pursuant to Civil L.R. 3-15, Smoore certified that as of April 28, 2025, there was

6    no conflict to report. Pursuant to Federal Rule of Civil Procedure 7.1(a), Defendant Shenzen

7    Smoore Technology Co., Ltd. certified on that date that it was 95% owned by Smoore (Hong Kong)

8    Limited, and 5% owned by SBI Limited. Smoore (Hong Kong) Limited was wholly owned by

9    Smoore Group Limited. Smoore Group Limited was wholly owned by Smoore International

10   Holdings Limited. SBI Limited was wholly owned by Smoore International Holdings Limited.

11   Pursuant to Civil L.R. 3-15, Smoore certified that as of April 28, 2025, the following listed persons,

12   associations of persons, firms, partnerships, corporations (including, but not limited to, parent

13   corporations) or other entities (i) had a financial interest in the subject matter in controversy or in

14   a party to the proceeding, or (ii) had a nonfinancial interest in that subject matter or in a party that

15   could be substantially affected by the outcome of this proceeding: Smoore (Hong Kong) Limited;

16   SBI Limited; Smoore Group Limited; and Smoore International Holdings Limited.

17            Jupiter: Forthcoming.

18            Greenlane: Pursuant to Civil L.R. 3-15, Greenlane certified that as of May 6, 2025, there

19   was no conflict or interest to report. Pursuant to Federal Rule of Civil Procedure 7.1(a), Greenlane

20   certified as of May 6, 2025 that no parent corporation or publicly held corporation owns 10% or

21   more of its stock.

22            3Win: Pursuant to Civil L.R. 3-15, Greenlane certified that as of May 6, 2025, there was

23   no conflict or interest to report. Pursuant to Federal Rule of Civil Procedure 7.1(a), 3Win certified

24   as of May 6, 2025 that no parent corporation or publicly held corporation owns 10% or more of its

25   stock.

26            CB Solutions: Pursuant to Civil L.R. 3-15, CB Solutions certified that as of May 6, 2025,

27   there was no conflict or interest to report. Pursuant to Federal Rule of Civil Procedure 7.1(a), CB
                                                                                    CASE NOS. 25-CV-1428;
      JOINT INITIAL CASE MANAGEMENT
                                                         10                                   25-CV-3221;
      STATEMENT
                                                                                               25-CV-3431
          Case 3:25-cv-01428-VC            Document 48          Filed 05/09/25     Page 11 of 12




1    Solutions certified as of May 6, 2025 that no parent corporation or publicly held corporation owns

2    10% or more of its stock.

3    XVIII. PROFESSIONAL CONDUCT

4              The Parties have reviewed the Guidelines for Professional Conduct for the Northern

5    District of California. 3

6    XIX. OTHER MATTERS

7              Timing of Summary Judgment and Class Certification. Pursuant to Paragraph 50 of this

8    Court’s Standing Order, the Parties will be prepared to discuss whether they anticipate filing any

9    motions for summary judgment before DPPs move for class certification at the Case Management

10   Conference.

11             Documents and Testimony from Other Cases. As referenced above, DPPs believe that

12   Defendants prompt production of the documents and/or testimony produced, taken, exchanged,

13   and/or filed in Shenzhen Smoore Tech. Co., Ltd. v. Next Level Ventures, LLC & Advanced Vapor

14   Devices, LLC, Case No. 2:22-cv-7646 (C.D. Cal., filed Oct. 19, 2022) and Certain Oil-Vaping

15   Cartridges, Components Thereof, and Products Containing the Same, Inv. No. 337-TA-1286

16   would facilitate the just, speedy, and inexpensive disposition of this matter.

17             The Defendants disagree with the DPPs’ position. Both sides are continuing to discuss this

18   issue and agree that it is not yet ripe for resolution.

19   DATED: May 9, 2025
      /s/ Nathaniel C. Giddings                              /s/ Michelle J. Looby
20
      Nathaniel C. Giddings (pro hac vice)                   Michelle J. Looby (pro hac vice)
21    HAUSFELD LLP                                           GUSTAFSON GLUEK PLLC
      1200 17th Street NW, Suite 600                         Canadian Pacific Plaza
22    Washington, DC 20036                                   120 South Sixth Street, Suite 2600
      Telephone: (202) 540-7200                              Minneapolis, MN 55402
23    Facsimile: (202) 540-7201                              (612) 333-8844
      ngiddings@hausfeld.com                                 mlooby@gustafsongluek.com
24

25       Counsel for Plaintiffs Earth’s Healing, Inc.        Counsel for Plaintiff Summit Industrial
         & Redbud Roots Inc.                                 Solutions LLC
26

27   3
               https://cand.uscourts.gov/forms/guidelines-for-professional-conduct/.
                                                                                       CASE NOS. 25-CV-1428;
         JOINT INITIAL CASE MANAGEMENT
                                                           11                                    25-CV-3221;
         STATEMENT
                                                                                                  25-CV-3431
      Case 3:25-cv-01428-VC            Document 48        Filed 05/09/25   Page 12 of 12




     Christopher L. Lebsock (#184546)                 Dennis Stewart (#99152)
1    HAUSFELD LLP                                     GUSTAFSON GLUEK PLLC
2    580 California Street                            600 W. Broadway, Suite 3300
     12th Floor                                       San Diego, CA 92101
3    San Francisco, CA 94101                          Telephone: (619) 595-3299
     Telephone: (415) 633-1908                        dstewart@gustafsongluek.com
4    Facsimile: (415) 358-4980
     clebsock@hausfeld.com                            Daniel C. Hedlund (pro hac vice)
5
                                                      Bailey Twyman-Metzger (pro hac vice)
6    Joshua H. Grabar (pro hac vice)                  GUSTAFSON GLUEK PLLC
     Julia C. Varano (pro hac vice)                   Canadian Pacific Plaza
7    GRABAR LAW OFFICE                                120 South 6th Street, Suite 2600
     One Liberty Place                                Minneapolis, MN 55402
8    1650 Market Street, Suite 3600                   Telephone: (612) 333-8844
9    Philadelphia, PA 19103                           dhedlund@gustafsongluek.com
     Telephone: (267) 507-6085                        btwymanmetzger@gustafsongluek.com
10   Facsimile: (267) 507-6048
     jgrabar@grabarlaw.com                            Additional Counsel for Plaintiff Summit
11   jvarano@grabarlaw.com                            Industrial Solutions LLC
12
     Additional Counsel for Plaintiffs Earth’s
13   Healing, Inc. & Redbud Roots Inc.

14   /s/ Jaikaran Singh                               /s/ Kevin Y. Teruya
     Jaikaran Singh (#201355)                         Kevin Y. Teruya (#235916)
15   FOLEY & LARDNER LLP                              William R. Sears (#330888)
16   11988 El Camino Real, Suite 400                  QUINN EMANUEL URQUHART AND
     San Diego, CA 92130                              SULLIVAN LLP
17   (858) 847-6700                                   865 S. Figueroa Street, 10th Floor
     jsingh@foley.com                                 Los Angeles, CA 90017
18                                                    (213) 443-3000
     Counsel for Defendants Jupiter Research,         kevinteruya@quinnemanuel.com
19   LLC; 3Win Corp.; Greenlane Holdings, Inc.,       willsears@quinnemanuel.com
20   and CB Solutions, LLC
                                                      Counsel for Defendant Shenzhen Smoore
21   Diane R. Hazel (pro hac vice)                    Technology Co. Ltd.
     FOLEY & LARDNER LLP
22   1144 15th St., Suite 2200
     Denver, CO 80202
23
     (720) 437-2034
24   dhazel@foley.com

25   Additional Counsel for Defendants Jupiter
     Research, LLC; 3Win Corp.; Greenlane
26   Holdings, Inc., and CB Solutions, LLC
27
                                                                              CASE NOS. 25-CV-1428;
     JOINT INITIAL CASE MANAGEMENT
                                                     12                                 25-CV-3221;
     STATEMENT
                                                                                         25-CV-3431
